Case 1:17-cv-00289-JMS-MJD Document 212 Filed 02/27/19 Page 1 of 5 PageID #: 2794


                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  MICHAEL RAY STAFFORD,                                )
  et al.                                               )
                Plaintiffs,                            )
                                                       )
                 v.                                    ) CASE NO. 1:17-cv-00289-JMS-MJD
                                                       )
  ROBERT E. CARTER, Jr.,                               )
  et al.                                               )
                 Defendants.                           )

              STATE DEFENDANTS’ FINAL WITNESS AND EXHIBIT LISTS
                            (REMEDIES HEARING)

         The State Defendants, by counsel, hereby submit their final witness and exhibit lists as to

  the remedies hearing currently set for April 29, 2019.

                                               WITNESSES

         State Defendants may call the following witnesses at the remedies hearing:

         1. Michael Mitcheff, M.D.

         Dr. Mitcheff is expected to testify concerning his past employment as chief medical officer
         of the Indiana Department of Correction during the relevant time period, the IDOC’s
         policies and procedures concerning HCV, the treatment of HCV, and the treatment of HCV
         within IDOC.

         2. Neil Fisher, M.D.

         Dr. Fisher is expected to testify concerning HCV, the treatment of HCV, the treatment of
         HCV in the IDOC, practices and procedures related to the treatment of HCV in the IDOC
         and Wexford, and the medical conditions of the named Plaintiffs.

         3. Dina Paul, M.D.

         Dr. Paul is a board-certified internist, responsible for the oversight of Wexford’s Chronic
         Disease and Case Management programs. She served as Wexford’s Internist, Hepatitis C
         Coordinator for more than six years. She is expected to testify concerning HCV, the
         treatment of HCV, the treatment of HCV in the IDOC, practices and procedures related to
         the treatment of HCV in the IDOC and Wexford, and the medical conditions of the named
         Plaintiffs.
Case 1:17-cv-00289-JMS-MJD Document 212 Filed 02/27/19 Page 2 of 5 PageID #: 2795


        4.     Christina Reagle.

        Ms. Reagle, the Chief Financial Officer of the Indiana Department of Correction, is
        expected to testify as to the IDOC’s budget and ability to pay for direct acting anti-virals
        for the entire chronic Hepatitis C population in IDOC on an ongoing basis, including
        whether additional appropriations would be required.

        5.     Kristen Dauss, M.D.

        Dr. Dauss is expected to testify concerning her present employment as chief medical officer
        of the Indiana Department of Correction (effective February 25, 2019), the IDOC’s policies
        and procedures concerning HCV, the treatment of HCV, the treatment of HCV within
        IDOC.

        6.     Any person necessary to authenticate or certify any document or exhibit;

        7.     Any person necessary for impeachment or rebuttal;

        8.     All persons listed on plaintiffs’ final witness list;

                                                   EXHIBITS

        State Defendants may use the following exhibits at a trial of this matter:

        1.     Indiana Department of Correction Administrative Policies and Procedures:

               a. Policy and Administrative Procedure 01-02-101: The Development and
                  Delivery of Health Care Services
               b. Health Care Services Directive-Adult 3.09: Management of Hepatitis C

        2.     Federal Bureau of Prisons guidelines for the Evaluation and Management of
               Chronic Hepatitis C, 2014-present;

        3.     The current medical vendor contract between the Indiana Department of Correction
               and Wexford, Inc.;

        4.     The past medical vendor contract between the Indiana Department of Correction
               and Corizon Health, Inc.;

        5.     The MCD Master Log (updated through April, 2019);

        6.     AASLD Guidance & Recommendations for Testing, Managing, and Treating
               Hepatitis C;

        7.     Transcript of the deposition of Dr. Suthat Liangpunsakul (w/exhibits);

        8.     Declaration of Dr. Suthat Liangpunsakul (dkt. 166-2);


                                                  2
Case 1:17-cv-00289-JMS-MJD Document 212 Filed 02/27/19 Page 3 of 5 PageID #: 2796


        9.    Expert Report of Dr. Suthat Liangpunsakul (dkt. 166-2);

        10.   Transcript of the deposition of Dr. Raj Vuppalanchi (w/exhibits);

        11.   Second Declaration of Dr. Suthat Liangpunsakul (dkt. 166-1);

        12.   Expert Report of Dr. Raj Vuppalanchi (dkt. 166-1);

        13.   Transcript of the deposition of Dr. William C. Vanness (w/exhibits);

        14.   Transcript of the deposition of Dr. Neil Fisher (w/exhibits);

        15.   Medical records of Michael Ray Stafford;

        16.   Transcript of the deposition of Michael Ray Stafford (w/exhibits);

        17.   Medical records of Charles Smith;

        18.   Transcript of the deposition of Charles Smith (w/exhibits);

        19.   Medical records of Douglas Smith;

        20.   Transcript of the deposition of Douglas Smith (w/exhibits);

        21.   Any document necessary for impeachment or rebuttal;

        22.   All discovery responses and deposition transcripts;

        23.   All things listed on plaintiffs’ initial disclosures;

        24.   All things listed on plaintiffs’ preliminary exhibit list;

        25.   All things listed on plaintiffs’ final exhibit list;

        26.   All things listed on any former co-defendant’s initial disclosures;

        27.   All things listed on any former co-defendant’s exhibit witness list;

        28.   All things listed on any former co-defendant’s final exhibit list; and,

        29.   Any reports and curriculum vitae of expert witnesses; and

        30.   Any documents or other exhibits discovered between the time of this filing and
              trial.




                                                  3
Case 1:17-cv-00289-JMS-MJD Document 212 Filed 02/27/19 Page 4 of 5 PageID #: 2797


                                     Respectfully submitted,

                                     CURTIS T. HILL, JR.
                                     Indiana Attorney General
                                     Attorney No. 13999-20

                                     By:    Jonathan P. Nagy
                                            Deputy Attorney General
                                            Attorney No. 20975-49

  OFFICE OF THE ATTORNEY GENERAL
  Indiana Government Center South
  302 W. Washington St., 5th Floor
  Indianapolis, IN 46204
  Phone: (317) 233-8296
  FAX: (317) 232-7979
  Email: Jonathan.Nagy@atg.in.gov




                                        4
Case 1:17-cv-00289-JMS-MJD Document 212 Filed 02/27/19 Page 5 of 5 PageID #: 2798


                                  CERTIFICATE OF SERVICE

         I certify that on February 27, 2019, a copy of the foregoing was filed electronically using

  the Court’s CM/ECF system, sending notice to the following parties who may access this filing

  using the Court’s system:

  Mark W. Sniderman
  SNIDERMAN NGUYEN LLP
  mark@snlawyers.com

  Robert A. Katz                                      Douglass R. Bitner
  INDIANA UNIVERSITY MCKINNEY                         KATZ KORIN CUNNINGHAM, P.C.
  SCHOOL OF LAW                                       dbitner@kkclegal.com
  rokatz@iu.edu
                                                      Jonathan P. Nagy
                                                      Deputy Attorney General

  OFFICE OF THE ATTORNEY GENERAL
  Indiana Government Center South
  302 W. Washington St., 5th Floor
  Indianapolis, IN 46204
  Phone: (317) 233-8296
  FAX: (317) 232-7979
  Email: Jonathan.Nagy@atg.in.gov




                                                  5
